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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA




 PAYPAL, INC.

                     Plaintiff,
                                                     Case No. 1:19-CV-03700-RJL
        v.
                                                      DEFENDANTS’ UNOPPOSED MOTION
 CONSUMER FINANCIAL PROTECTION
 BUREAU and KATHY KRANINGER, in her                   TO EXTEND TIME TO FILE AN
 official capacity as Director of the Consumer        ANSWER
 Financial Protection Bureau,

                     Defendants.


       Defendants Consumer Financial Protection Bureau and Kathy Kraninger, in her official

capacity as the Bureau’s Director, move the Court to extend the time for Defendants to answer

Plaintiff’s complaint (Dkt. No. 1) until 5 business days after the Court rules on the a Joint

Motion for Scheduling Order that the parties intend to file today. In support of this motion,

Defendants state:

       1. Defendants’ answer is currently due by February 24, 2020.

       2. In a Joint Motion for Scheduling Order that the parties intend to file today, the parties

             will propose a schedule for briefing cross-motions for summary judgment and request

             that the Court excuse Defendants from filing an answer to the complaint in this case

             because this is an action for review on an administrative record.

       3. In the event that the Court does not rule on the Joint Motion for Scheduling Order

             before the February 24, 2020, deadline, Defendants respectfully request that that

             deadline be extended until 5 business days after the Court rules on the parties’ Joint

             Motion for Scheduling Order. If the Court declines the parties’ request to excuse
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          Defendants from filing an answer, this extension would give Defendants sufficient

          time to finalize and file its answer. If the Court grants the parties’ request to excuse

          Defendants from filing an answer on or before February 24, 2020, this motion for an

          extension will be moot.

       4. No previous extensions have been sought by either party or granted by the Court.

       5. Granting this motion will not have any effect on other previously scheduled

          deadlines, except to the extent that under Local Rule 7(n), Defendants are required to

          file a certified list of the contents of the administrative record with the Court within

          30 days following service of the answer to the complaint. In their Joint Motion for

          Scheduling Order, however, the parties will propose that the Court require

          Defendants to meet this obligation by March 27, 2020. Granting this extension would

          not affect that proposed deadline.

       6. Counsel for Defendants have conferred with counsel for Plaintiff, who stated that

          Plaintiff does not oppose this motion.

A proposed Order is attached.
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Dated: February 21, 2020                Respectfully submitted,

                                        MARY McLEOD
                                        General Counsel
                                        JOHN R. COLEMAN
                                        Deputy General Counsel
                                        STEVEN Y. BRESSLER
                                        Assistant General Counsel

                                        KRISTIN BATEMAN (Cal. Bar No. 270913)
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                                        s/ Julia Szybala           _
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                                        Counsel for Defendants Consumer Financial
                                        Protection Bureau and Kathy Kraninger
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                                    CERTIFICATE OF SERVICE

        I hereby certify that on February 21, 2020, a copy of the foregoing motion was filed

electronically via the Court’s ECF system, which sent notification of the filing to counsel of record.



                                                         /s/ Julia Szybala
                                                         Julia Szybala
                                                         Counsel for Defendants
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                            UNITED STATES DISTRICT COURT
                                DISTRICT OF COLUMBIA




PAYPAL, INC.,

                    Plaintiff,
                                                             Case No. 1:19-CV-03700-RJL
       v.

CONSUMER FINANCIAL PROTECTION
BUREAU et al.,                                                          ORDER

                    Defendants.




      Pending before the Court is Defendants’ Unopposed Motion To Extend Time To File An

Answer. After consideration, the motion is GRANTED and IT IS ORDERED that:

           The current February 24, 2020, deadline for filing an answer is vacated;

           Defendants shall file an answer within five business days of the Court’s ruling on the

            parties’ Joint Motion for Scheduling Order, provided, however, that no answer will be

            required if the Court in its ruling on that Joint Motion excuses Defendants from filing

            an answer.



      Dated this ____ day of February 2020.




                                      _______________________________________
                                      Richard J. Leon
                                      United States District Judge
